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                                      UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF OHIO
                                           WESTERN DIVISION

United States of America,                                                      Case No.1:07-cr-153

                   v.                                                          Judge Timothy S. Black

Mark Preston Kendrick,

                   Defendant.
                                      CRIMINAL MINUTES before
                              United States District Judge Timothy S. Black

Courtroom Deputy: Mary Rogers
Court Reporter: Jodie Perkins, Official Court Reporter
Date: 5/9/2014      Time: Commenced 10:15 a.m. Concluded 10:20 a.m. Total: 5 mins.

United States Attorney: Christy Muncy                      Defendant Attorney:             Jim Maus


Court Proceeding: Final Proceedings on Supervised Release Revocation Hearing

_x_ Counsel present

    Violation #1        violated mandatory condition prohibiting him from committing a    _x_ Violation found
                        federal, state or local crime.

    Violation #2        violated special condition prohibiting him from loitering where   _x_ Violation found
                        minor congregate



Notes:


Sentenced on the 2 violations to 60 months, term to run concurrent to the term of 120 months on
1:13-cr-131, USA v Mark P. Kendrick; no additional term of supervised release imposed.


Advised of his right to appeal; Remanded to the custody of the U.S. Marshal.
